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United States Bankruptcy Court for the:
EASTERN DISTRICT OF NEW YORK

Case number (if known)

 

Chapter 11

1 Check if this an
amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filin

g for Bankruptcy 06/22
If more space is needed, attach a separate sheet to this form. On the
Known). For more informatio

top of any additional pages, write the debtor’s name and the
in, a separate document, Instructions for

case number (if
Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Harpers Ferry Hospitality, LLC

All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal

Employer Identification XX-XXXXXXX
Number (EIN)

4. Debtor's address Principal place of business

Mailing address, if different from principal place of
business
1043 44th Drive

Long Island City, NY 11101
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Queens

Location of principal assets, if different from Principal
County place of business

 

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

 

6. Type of debtor I Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

1 Partnership (excluding LLP)
1 Other. Specify:

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor —_ Harpers Ferry Hospitality, LLC Case number (if known)

 

Name

7. Deseribe debtor's business A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

BHOOOOOO

B. Check all that apply

1 Tax-exempt entity (as described in 26 U.S.C. §501)

1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
1 _tnvestment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best descnbes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.
7225

 

8. Under which chapter of the Check one:

Bankruptey Code is the 1 Chapter 7
d ?
ebtor filing CO Chapter 9

A debtor who is a “small

Biisinece WakAuk” Wisk Check EI Chapter 11. Check all that apply.

the first sub-box. A debtor as [{ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
defined in § 1182(1) who noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than

elects to proceed under $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
subchapter V of chapter 11 operations, cash-flow statement, and federal income tax retum or if any of these documents do not
(whether or not the debtor is exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

a “small business debtor’) 0 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
must check the second debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
sub-box. proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent

balance sheet, statement of operations, cash-flow statement, and federal income tax retum, or if

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in

accordance with 11 U.S.C. § 1126(b).

0 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Secunties and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

(The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

OO

1 Chapter 12

 

9. Were prior bankruptcy No.
cases filed by or against (1 Yes.
the debtor within the last 8
years?
If more than 2 cases, attach a
separate list. District When Case number

District When Case number

 

 

 

40. Areany bankruptcy cases [XJ No
pending or being filed bya [(] Yes.
business partner or an
affiliate of the debtor?

List all cases. If more than 1, .
attach a separate list Debtor Relationship
District When Case number, if known

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptey page 2

 
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Debtor Harpers Ferry Hospitality, LLC Case number (if known)
Name
11. Why is the case filed in Check ail that apply:

this district? a : :
° —] Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.
Os Abankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

 

12.

Does the debtorownor [J No
have possession of any
real property or personal
property that needs
immediate attention?

C1 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
[1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

1 It needs to be physically secured or protected frorn the weather.

C It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

C0 Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?

OONo

OyYes. Insurance agency

 

Contact name

 

Phone

 

 

Ee} Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:

{J Funds will be available for distribution to unsecured creditors.
D0 After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of
creditors

1-49

C1 50-99
CJ 100-199
CD 200-999

CJ 1,000-5,000
0 5001-10,000
(1 10,001-25,000

CZ 25,001-50,000
(J 50,001-100,000
CJ More than100,000

 

15. Estimated Assets

Bd $0 - $50,000

CJ $50,001 - $100,000
1 $100,001 - $500,000
(1 $500,001 - $1 million

(J $1,000,001 - $10 million

(1 $10,000,001 - $50 million

(0 $50,000,001 - $100 million

(1 $100,000,001 - $500 million

0 $500,000,001 - $1 billion

C1 $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
1 More than $50 billion

 

16. Estimated liabilities

I $0 - $50,000

OO $50,001 - $100,000
0 $100,001 - $500,000
CO $500,001 - $1 million

0 $1,000,001 - $10 million

0 $10,000,001 - $50 = million
DO $50,000,001 - $100 million
0 $100,000,001 - $500 million

0 $500,000,001 - $1 billion

0 $1,000,000,001 - $10 billion
CO $10,000,000,001 - $50 billion
O More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptoy

page 3
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Debtor —_ Harpers Ferry Hospitality, LLC Case number (if known)

 

Name

BEE Recuest for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on June 14, 2023

   
  

Joshua Bowen
orized representative of debtor Printed name

 

Title _Authorized Signer

 

18. Signature of attorney x AS LAWN. c€¢ hn rt ATI nw Date _ June 14, 2023

Signature of attorney for debtor MM/DD/YYYY

Lawrence Morrison
Printed name

Morrison Tenenbaum PLLC
Firm name

87 Walker Street, Second Floor
New York, NY 10013
Number, Street, City, State & ZIP Code

Contact phone Email address _Imorrison@m-t-law.com

 

2889690 NY
Bar number and State
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United States Bankruptcy Court
Eastern District of New York

Inre _Harpers Ferry Hospitality, LLC Case No.

 

Debtor(s) Chapter 11

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.

 

Date: June 14, 2023

 

Zo pet Bowen/Authorized Signer
Signer/Title
Case 1-29-42090-eSS DOC Filed U//édieo Entered Ofi22i25 Lf:40'26

10-43 44th Drive, LLC

c/o Joseph R. Boungiorno & Associates, P
250 Mineola Blvd

Mineola, NY 11501

Alexandra Germanis

c/o Sacco & Fillas, LLP

42-40 Bell Boulevard, Suite 301
Bayside, NY 11361

Irene Batas

c/o Joseph R. Boungiorno & Associates, P
250 Mineola Blvd

Mineola, NY 11501

IRS
PO Box 7346
Philadelphia, PA 19101

NYS Dept. of Tax & Finance
Bankruptcy Section PO Box 5300
Albany, NY 12205
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UM eM Ut cleue ltl ks) Ta a ey yp
Debtorname _Harpers Ferry Hospitality, LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK
Case number (if known)

(1 Check if this is an
amended filing

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor,
form for the schedules of assets and liabilities,
amendments of those documents. This form must state the individual’
and the date. Bankruptey Rules 1008 and 9011.

such as a corporation or partnership, must sign and submit this
any other document that requires a declaration that is not included in the document, and any

s position or relationship to the debtor, the identity of the document,

WARNING -— Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankrupte:

y case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

| Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are No
Other document that requires a declaration

 

O8OO00000

t Insiders (Official Form 204)

| declare under penalty of perjury that the foregoing is true a

Executed on June 14, 2023 x

mae of individual signing on behalf of debtor
J

oshua Bowen
Printed name

Authorized Signer
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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Debtor name [Harpers Ferry Hospitality, LLC
United States Bankruptcy Court for the

Case number (if known):

YORK

 

EASTERN DISTRICT OF NEW

 
 
 
   
   
   

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and

Are Not Insiders

A list of creditors holding the 20 largest unsecured claims must be filed ina Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).

[1] Check if this is an

amended filing

12/15

Also, do not

include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade
debts, bank loans,
professional services,
and goverment
contracts)

Indicate if claim
G :
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured, fill in only unsecured ciairn amount. If
claim is partially secured, fill in total claim amount and deducbdon for

value of collateral or setoff to calculate unsecured claim

 

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

10-43 44th Drive,
LLC

clo Joseph R.
Boungiorno &
Associates, PC
250 Mineola Blvd
Mineola, NY 11501

Lawsuit - Lease
Dispute

Disputed

Unknown

 

Alexandra Germanis
clo Sacco & Fillas,
LLP

42-40 Bell
Boulevard, Suite
301

Bayside, NY 11361

Lawsuit

Disputed

Unknown

 

Irene Batas

clo Joseph R.
Boungiorno &
Associates, PC
250 Mineola Blvd
Mineola, NY 11601

Lawsuit - Lease
Dispute

Disputed

Unknown

 

IRS

PO Box 7346
Philadelphia, PA
19101

Unliquidated

Unknown

 

NYS Dept. of Tax &
Finance
Bankruptcy Section
PO Box 6300
Albany, NY 12205

 

 

 

 

Unliquidated

 

 

 

Unknown

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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page 1

Bes! Case Bankruptcy

 
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United States Bankruptcy Court
Eastern District of New York

Inre _ Harpers Ferry Hospitality, LLC Case No.
11

Debtor(s) Chapter

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for __Harpers Ferry Hospitality, LLC _ in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

(J None [Check if applicable|

June 14, 2023 ff Sf LAwptrté  (.Anzh—

Date Lawrence Morrison

Signature of Attorney or Litigant

Counsel for Harpers Ferry Hospitality, LLC
Morrison Tenenbaum PLLC

87 Walker Street, Second Floor

New York, NY 10013
Imorrison@m-t-law.com
Case 1-25-42090-€SS DOC L Filed OUfieciz5 Entered O//22i25 Lfi40ico

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): _Harpers Ferry Hospitality, LLC CASE NO.:.

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (1) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)

have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

§] NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

[] THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING (Y/N): [Jf closed] Date of closing:

 

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING (Y/N): [If closed] Date of closing:

 

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

 

 

3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING (Y/N): [if closed] Date of closing:
(OVER)

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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.
TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): _Y.

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.

mt

Lawrence Morrison tint
Signature of Debtor's Attorney iSnatyx€ of Pro Se Debtor/Petitioner
Morrison Tenenbaum PLLC

87 Walker Street, Second Floor
New York, NY 10013

 

 

 

Signature of Pro Se Joint Debtor/Petitioner

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result. ‘

USBC-17 Rev.8/11/2009
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